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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION
_____________________________________________________________________________________________________________________


LAURIE BROWN, OLUWAKEMI
FOSUDO, and ABIGAIL MUSICK,

                          Plaintiffs,                     Case No. 5:24-cv-05144-TLB
v.

WALMART, INC.,

                          Defendant.


     DEFENDANT WALMART, INC.’S MOTION TO COMPEL ARBITRATION
             AND STAY ACTION PENDING ARBITRATION




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   Defendant Walmart, Inc. (“Walmart”) moves to compel plaintiffs Laurie Brown,

Oluwakemi Fosudo, and Abigail Musick (collectively, “Plaintiffs”) to arbitrate their

claims, and for this Court to stay all litigation pending resolution of this Motion and

the arbitrations.

      1. Plaintiffs have agreed to privately arbitrate their disputes with Walmart

and have waived their right to litigate in this court. Walmart therefore requests that

this court stay this action and compel Plaintiffs to individually arbitrate their claims

under the Federal Arbitration Act (“FAA”), 9 U.S.C. § 3, or in the alternative,

Walmart requests that this Court dismiss the Complaint under Rule 12(b)(6).

      2. This Motion relies on and is supported by the arguments and authority in

the accompanying Memorandum of Law in Support of Defendant Walmart, Inc.’s

Motion to Compel Arbitration and Stay Action Pending Arbitration (“Memorandum”),

and the declarations of Stacey Krsulic, Anil Kumar Garikepati, Aditya Bakle,

Christopher Clancy, and Benjaman E. Waldin, and the exhibits attached to those

declarations.

   WHEREFORE, Defendant Walmart requests that the Court stay all litigation

during the pendency of the resolution of this Motion, compel Plaintiffs to arbitrate

their claims on an individual basis, and stay their cases until such arbitrations have

been adjudicated by the arbitral body. Alternatively, Walmart requests that the

Court dismiss the action.




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Dated: October 7, 2024                   Respectfully Submitted,

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